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EXHIBIT B
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SOUTHERN DISTRICT OF NEW YORK DATE FILED.

Hemenway et al.

¥ CERTIFICATE OF MAILING

Case No.: _1:18-cv-12277 (GBD)SN)

Islamic Republic of Iran

I hereby certify under the penalties of perjury that on the 27 day of March _, 2019, I served:___
Minister of Foreign Affairs, Ministry of Foreign Affairs of the Islamic Republic of Iran, Iman

Khomeini Avenue, Tehran, Iran, Attn: H.E. Mohammad Javad Zarif

Cc the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)ii).

LJ the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRN), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

L] the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

_ 2 copy(ies) of the Summons, Complaint, Civil Cover Sheet, Notice of suit prepared

in accordance with 22 CF §93.2 with a copy of 28 U.S.C. 1330, affidavit of translator (along with

translations of the above documents)

by Federal Express 8606 6542 7340.

Dated: New York, New York Veg at te ath
03/27/2019 ge Ek

Rusy J. KRAIICK ;
CLERK OF COURT j.",

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Melina Roberts ‘
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